                     Case 01-01139-AMC                       Doc 24249-2            Filed 02/05/10   Page 1 of 1




                                 IN THE UNITED STATES BANKRUPTCY COURT

                                           FOR THE DISTRICT OF DELA WARE


In re:                                                                          )
                                                                                )
W. R. GRACE & CO., et al.                                                       )     Chapter 11
                                                                                )
                                   Debtors.                                     )     Case No. 01-01139 (JKF)
                                                                                )     (Jointly Administered)
                                                                                )
                                                                                )     Re: Docket Nos. 23724, 23866
                                                                                      1/25/10 Agenda # 8

               ORDER REGARINDING TRIAL ON CANADIAN PROPERTY DAMAGE
                          CLAIM NUMBERS 11627 AND 12476
           Pursuant to the previous directions of the Court and the attached pretrial statement for the

statute of limitations trial of Canadian property damage claim numbers 11627 and 12476, this
Cour hereby Orders as follows:


            1. The Cour hereby approves the Pre-trial Statement.

            2. Pursuant to the Pre-Trial Statement, the paries wil exchange exhibits, if any, to


be used for trial and provide copies of                     those exhibits to the Cour, ten (10) days before triaL.

            3. The trial of               this matter wil take place on April            19, 2010 as the last item on the

agenda for the Debtors' Omnibus hearing in Wilmington, Delaware which commences at 10:30

a.m.



Dated: February _,2010
                                                                       Honorable Judith K. Fitzgerald
                                                                       U. S. Banptcy Judge




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